    Case 2:19-cv-08171-PA-SK Document 33 Filed 01/07/20 Page 1 of 2 Page ID #:488

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV 19-08171 PA (SKx)                                          Date    January 7, 2020
 Title            Wesco Insurance Company v. Tauler Smith LLP et al



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                          N/A
                Deputy Clerk                              Court Reporter                      Tape No.
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                 IN CHAMBERS

        The Court has received the parties’ joint 26(f) report and finds that a scheduling conference is not
necessary. Dates set by the Court in this action are listed in the “Schedule of Trial and Pretrial Dates”
attached to this order. The dates set by the Court are firm dates. Absent extraordinary circumstances,
which must satisfy the requirements of Federal Rule of Civil Procedure 16(b) and be brought to the
Court’s attention in a timely manner, the Court will not modify these dates. The scheduling conference
currently on calendar for January 13, 2020 at 10:30 a.m. is hereby vacated, and the matter taken off
calendar.

         Defendant NMRM, Inc., Roma Mikha, Inc., and Skyline Market, Inc. have filed an Answer that
includes a demand for jury trial. (Docket No. 20.) However, the Court finds that the Complaint only
contains claims for rescission and declaratory relief, and thus only presents equitable issues. Therefore,
there is no right to a jury trial. See Fed. R. Civ. P. 39; Beacon Theatres, Inc. v. Westover, 359 U.S. 500,
516 (1959). Accordingly, the Court sets this case for a Court Trial. If either party desires a jury trial,
they may do so by filing an appropriate motion citing authority for a jury trial in an action for declaratory
relief. Any such motion must be set for a hearing no later than the cutoff date for a hearing on a motion
to amend the pleadings or add parties. In addition, the Court notes that the parties estimate that trial will
consume between eight and nine trial days. It is the Court’s practice to impose limits on the length of
civil trials. Based on the Court’s current understanding of this action, the parties are highly unlikely to
have as much time to try this case as they appear to anticipate.

        Finally, pursuant to the agreement of the parties, this matter has been referred to private
mediation. The parties have fourteen (14) days to select a mediator who has no conflicts and is
otherwise available to act as the settlement officer in this matter. If the parties are unable to agree on a
mediator, each side shall submit to the Court the name of a mediator who agrees to act as the settlement
officer. The Court will then randomly select the settlement officer.


         IT IS SO ORDERED.




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
      Case 2:19-cv-08171-PA-SK Document 33 Filed 01/07/20 Page 2 of 2 Page ID #:489


                              Schedule of Trial and Pretrial Dates

CASE NO.:                    CV      19-08171


PARTIES:                          Wesco Insurance Company
                                        -v-
                                  Tauler Smith LLP et al

COMPLAINT FILED:                  09/20/19


TRIAL TYPE:                       Court

SETTLEMENT CHOICE:
Court/Magistrate
Court's Mediation Panel
Private Dispute Resolution                X
Judicial Settlement Panel

    DATE                          MATTER

   09/01/20                       Court Trial at 9:00 a.m.

   08/27/20                       File Final Trial Exhibit Stipulation

   08/24/20                       Hearing on Motions in Limine at 1:30 p.m.
                                  File Response to Findings of Fact & Conclusions of Law

   08/07/20                       Final Pretrial Conference at 1:30 p.m.
                                  Motions in Limine to be Filed


   07/24/20                       Lodge Pretrial Conference Order & Pretrial Exhibit Stipulation
                                  File Contentions of Fact & Law
                                  Exhibit & Witness Lists
                                  File Joint Status Report Regarding Settlement




   07/06/20                       Last Date to Conduct Settlement Conference

   06/29/20                       Last Day for Hearing Motions

   06/22/20                       Discovery Cut-off

   04/06/20                       Last Day for Hearing on Motion to Amend Pleadings or Add Parties
